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  UN ITED STA TES O F A M ERICA

         Plaintiff,
  VS.

  LINDA ROVETTO,

         Defendant.
                                   /

         ORDER ADOPTIN G M AG ISTRATE'S REPORT AND RECOM M ENDATION

         TH IS CA U SE cam e before the Courtupon the O rderofReference from the District
  Courtto conductaChange ofPleabefore aM agistrateJudge.
         THE M ATTER wasreferredto M agistrateJudgeFrank J.Lynch Jr,on April5,2012.A

  ReportandRecommendation wastsledonApril23,2012,(D.E.#95),recommendingthatthe
  Defendant'spleaofguilty be accepted.TheDefendantand the Governmentwereafforded the

  opportunitytofileobjectionstotheReportandRecommendation,howevernonewerefiled.The
  Courthasconducted adenovoreview oftheentirefile.Accordingly,itis
         ORDERED AND ADJUDGED that
         The Reportand Recom mendation ofUnited StatesM agistrateJudgeFrank J.Lynch Jr,is
  hereby A dopted and A pproved in itsentirety.
         TheDefendantisadjudgedguiltyto CotmtSevenoftheIndictment,whichchargesthe
  Defendantwith conspiracy to comm itbank fraud,in violation ofTitle 18,United StatesCode,
  Sections 1349 and 1344.
         DONE AND ORDERED inChambersatMiami,Florida,thisk) dayofMay,2012.
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  Copied:Hon.M agistrateLynch
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  U.S.Probation Office
